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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                     Plaintiff,

                                                                   DECISION AND ORDER

                                                                   05-CR-6108L

                      v.

JOEY HEMINGWAY,



                              Defendant.
________________________________________________


       This Court referred all pretrial motions to United States Magistrate Judge MarianW. Payson

pursuant to 28 U.S.C. § 636(b). Hemingway stands charged in a multi-count indictment with

narcotics and firearms offenses. One of the charges, a conspiracy count, alleges activity from

January 2000 to March 2006.

       During the time span of that conspiracy, the Government advised of its intent to introduce

evidence relating to the arrest of Hemingway in Rochester, New York on April 12, 2004.

Hemingway moved to suppress evidence obtained as a result of his encounter with the Rochester

Police Department (“RPD”) on the grounds that the search occurred in violation of his Fourth

Amendment rights.

       Magistrate Judge Payson held a suppression hearing over two days and three witnesses

testified, RPD Officers Scott Ferro and Paul Romano, and the defendant.
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       On June 20, 2007, Magistrate Judge Payson issued a thorough Report and Recommendation

(Dkt. # 124), and it was her recommendation that the motion to suppress evidence seized on April

12, 2004, be denied. Hemingway duly filed objections (Dkt. # 126) to Magistrate Judge Payson’s

Report and Recommendation.

       I have reviewed Magistrate Judge Payson’s Report and Recommendation, Hemingway’s

objections and the transcripts of the two-day suppression hearing has also been prepared for my

review. I accept Magistrate Judge Payson’s Report and Recommendation and adopt it and agree with

her conclusion that the motion to suppress be denied.

       Magistrate Judge Payson set out a summary of the relevant facts in the Report and

Recommendation, which are, for the most part, not disputed. The initial confrontation between

Hemingway and the officers occurred while Hemingway was sitting on the driver’s side of an

automobile parked on Lewis Street, a high crime area. The officers approached Hemingway’s

vehicle after they had observed an unknown male walk hurriedly away from that vehicle when he

observed the arrival of the police. The officers suspected that a drug transaction had just taken place

at Hemingway’s vehicle.

       I find nothing untoward in the officers conversing with Hemingway as he sat in his vehicle.

I agree with Magistrate Judge Payson that at this point no seizure had occurred.

       As Officer Romano was asking Hemingway for identification and an explanation of his

activities, he heard fellow officer Ferro state that he had recovered several bags containing cocaine

from the male who had just scurried from Hemingway’s vehicle. At that point, Hemingway was

ordered out of the vehicle. Hemingway denied having any weapons or drugs and told the officer to



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“check” him if he wished. The officer then did search Hemingway and found two packages of

cocaine in his pants pocket. Hemingway contends that this seizure was impermissible. I disagree.

       I find that Officer Romano’s decision to talk to Hemingway in his vehicle was not a seizure

and does not implicate the Fourth Amendment. Mere conversation between an officer and a citizen

does not automatically constitute a seizure or restraint just because one of the parties is a law

enforcement officer.

       Based on the facts known to Officer Romano and cohorts, the perceived activity at the side

window of Hemingway’s vehicle was certainly suspicious and warranted further investigation. As

is often the case, further facts surfaced after the initial confrontation. The police officers quickly

learned an important additional fact -- the discovery of a quantity of cocaine from the person who

had just left Hemingway’s vehicle. That fact, taken together with the other information, certainly

provided the officers with a reasonable suspicion that unlawful drug activity had just occurred. With

that specific information, the officers were justified in detaining Hemingway and ordering him out

of the vehicle for further inquiry and investigation.

       At this point, Magistrate Judge Payson credited the officers’ testimony that Hemingway

consented to a search of his person by denying that he had drugs and inviting the officers to “check”

him. I believe, as did Magistrate Judge Payson, that that response by Hemingway was sufficient to

establish his consent to the search of his person.



                                          CONCLUSION

       I accept and adopt the Report and Recommendation of United States Magistrate Judge

Marian W. Payson (Dkt. # 124) filed June 20, 2007.

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       Defendant Joey Hemingway’s motion to suppress evidence seized on April 12, 2004 (Dkt.

# 88), is denied.

       IT IS SO ORDERED.



                                   _______________________________________
                                            DAVID G. LARIMER
                                          United States District Judge


Dated: Rochester, New York
       August 1, 2007.




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